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&lt;P&gt;&lt;SPAN STYLE="font-size: 14pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;/STRONG&gt;&lt;/P&gt;
&lt;CENTER&gt;NO. 03-9&lt;A NAME="1"&gt;8&lt;/A&gt;-00&lt;A NAME="2"&gt;643&lt;/A&gt;-CR&lt;/CENTER&gt;


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&lt;/STRONG&gt;&lt;/P&gt;



&lt;CENTER&gt;&lt;A NAME="3"&gt;Daniel Joseph Miller&lt;/A&gt;, Appellant&lt;/CENTER&gt;


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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;v.&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;P&gt;&lt;STRONG&gt;&lt;CENTER&gt;The State of Texas, Appellee&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;FROM THE DISTRICT COURT OF &lt;A NAME="4"&gt;BELL&lt;/A&gt; COUNTY, &lt;A NAME="5"&gt;264TH&lt;/A&gt; JUDICIAL DISTRICT&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/SPAN&gt;

&lt;P&gt;&lt;SPAN STYLE="font-size: 11pt"&gt;&lt;STRONG&gt;&lt;CENTER&gt;NO. &lt;A NAME="6"&gt;49,068&lt;/A&gt;, HONORABLE &lt;A NAME="7"&gt;MARTHA J. TRUDO&lt;/A&gt;, JUDGE PRESIDING&lt;/STRONG&gt;&lt;/SPAN&gt;&lt;STRONG&gt;&lt;/CENTER&gt;
&lt;/STRONG&gt;&lt;/P&gt;

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&lt;/STRONG&gt;&lt;/P&gt;


PER CURIAM

&lt;P&gt;Appellant Daniel Joseph Miller pleaded guilty to an indictment accusing him of
indecency with a child.  The district court found him guilty and assessed punishment at
imprisonment for twelve years.&lt;/P&gt;

&lt;P&gt;The clerk's record contains a written waiver of appeal signed by appellant and his
attorney.  This document, which reflects a knowing and voluntary waiver of the right to appeal,
was signed on the day sentence was imposed in open court.  A defendant who knowingly and
intelligently waives his right to appeal may not thereafter appeal without the consent of the trial
court.  &lt;EM&gt;Ex parte Dickey&lt;/EM&gt;, 543 S.W.2d 99 (Tex. Crim. App. 1976); &lt;EM&gt;see also Hurd v. State&lt;/EM&gt;, 548 
S.W.2d 388 (Tex. Crim. App. 1977); &lt;EM&gt;Reed v. State&lt;/EM&gt;, 516 S.W.2d 680 (Tex. Crim. App. 1974). 
There is nothing in the record to indicate that appellant sought or obtained the permission of the
trial court to pursue this appeal.&lt;/P&gt;

&lt;P&gt;The appeal is dismissed.&lt;/P&gt;

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&lt;P&gt;Before Justices Jones, B. A. Smith and Yeakel&lt;/P&gt;

&lt;P&gt;Dismissed&lt;/P&gt;

&lt;P&gt;Filed:   January 14, 1999&lt;/P&gt;

&lt;P&gt;Do Not Publish&lt;/P&gt;

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